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AARON J. ROMANO, P.C.
BY: Aaron J. Romano, Esquire
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Tel: (860) 286-9026
___________________________________
                      UNITED STATES DISTRICT COURT
                     DISTRICT COURT OF CONNECTICUT

UNITED STATES OF AMERICA                  :      DOCKET NO.: 3:14cr228(JBA)
                                          :
                                          :
              v.                          :
                                          :
                                          :
JASON CALABRESE                           :      MAY 9, 2017

                         DEFENDANT JASON CALABRESE’S
                        MOTION FOR RETURN OF PASSPORT

       On May 5, 2015, Mr. Calabrese plead guilty to Conspiracy to Commit Bank Fraud,

in violation of 18 U.S.C. §1349. On September 8, 2015, the Court (Arterton, J.) sentenced

Mr. Calabrese to a term of imprisonment of six (6) months, with two (2) years of supervised

release, and a three (3) month period of home confinement. On September 23, 2015, the

judgment entered on the same. On or about March 22, 2017, the Court (Arterton, J.)

issued an Amended Order of Remand to require Mr. Calabrese to self-surrender by noon

on September 19, 2017. Further, the Court “strongly recommend[ed]” that Mr. Calabrese

be re-designated to a halfway house for service of his sentence.

       Mr. Calabrese has been released on bond throughout the pendency of this matter.
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He is in compliance with the Office of Probation and with the order of restitution. Defense

counsel is currently in possession of Mr. Calabrese’s passport. The Government has no

objection to the instant motion.

       WHEREFORE, Jason Calabrese respectfully requests his passport be returned to

him.

                                             Respectfully submitted,

this 9th day of May 2017                     JASON CALABRESE
                                             By: /s/ Aaron J. Romano
                                             Aaron J Romano, Esq.
                                             His Attorney, Bar ID #20100
                                             Aaron J. Romano, P.C.
                                             55 Woodland Avenue
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                                       CERTIFICATION

I hereby certify that, on this 9th day of May 2017, the Defendant’s Motion for Return of
Passport was filed electronically and sent by first-class mail, postage prepaid, to anyone
unable to accept electronic filing. Notice of this filing will be sent by e-mail to all parties by
operation of the Court’s electronic filing system, or by mail to anyone unable to accept
electronic filing. Parties may access this filing through the Court’s system.

                                             By:    /s/ Aaron J. Romano
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                   IN THE UNITED STATES DISTRICT COURT
                         DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA            :     DOCKET NO. 3:14cr228(JBA)

vs.                                 :

JASON CALABRESE                     :



                                  ORDER

      FOR GOOD CAUSE SHOWN, this           day of         , 2017, the Defendant’s

Motion for Return of Passport is hereby GRANTED/DENIED.




                                          J.,
